         Case 3:19-mj-09978-MAT Document 4 Filed 01/08/20 Page 1 of 1




                              UNITED STATES DITRICT COURT
                               WESTERN DISTRCT OF TEXA2 JA                      3   PM 3: 20
                                    EL PASO DI VISION

UNITED STATES OF AMERICA                       )

               Plaintiff,                                                       1/
 V.
                                                         NO. 19-MJ-09978-MAT

PAUL JARVIS

               Defendant.

           UNITED STATES' MOTION TO                           FELONY CO
TO THE HONORABLE JUDGE:

       Pursuant to Rule 48(a) of the Federal Rul        of Criminal Procedure, and by leave of the
Court, the United States Attorney for the Western       strict of Texas, hereby moves to dismiss and

requests that the Court dismiss the original F          ny Complaint, without prejudice, against

Defendant PAUL JARVIS.


DATED:     January 8        , 2020          Respe4fully submitted,

                                            JOHN        . BASH
                                            UNITD STATES ATTORNEY


                                           JO/SE        UISACOSTA
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